Case 4:17-cv-00410-JED-FHM Document 2-1 Filed in USDC ND/OK on 07/13/17 Page 1 of 2




                   EXHIBIT ''A''
Case 4:17-cv-00410-JED-FHM Document 2-1 Filed in USDC ND/OK on 07/13/17 Page 2 of 2



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   ~ COIIIClton S8Nlcn. Inc.


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